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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division


STEVES AND SONS, INC.,

      Plaintiff,

V.                                     Civil Action No. 3:16cv545

JELD-WEN, INC.,

      Defendant.


                       AMENDED FINAL JUDGMENT ORDER


      This is the final order entering judgment:                  (1) on the Jury

Verdict (ECF No. 1022) in favor of STEVES AND SONS, INC. (^^STEVES")

against   JELD-WEN,     INC.    {"JELD-WEN")      on    STEVES'    antitrust     and

breach of contract claims; (2) on the MEMORANDUM OPINIONS (ECF

Nos. 1759 and 1784) addressing STEVES' request for                       equitable

remedies on STEVES antitrust claims; (3) on the Jury Verdict (ECF

No. 1609) in favor of JELD-WEN against STEVES on JELD-WEN's trade

secret counterclaims; (4) on the MEMORANDUM OPINION (ECF No. 1773)

addressing JELD-WEN's motion for judgment on certain of STEVES'

breach of contract claims; (5) on the MEMORANDUM OPINION (ECF No.

1811) addressing JELD-WEN's motion seeking injunctive relief on

its   trade   secret    counterclaims;      (6)    on    Steve's       request   for

declaratory relief as set out in the Complaint but modified in

PLAINTIFF     STEVES   AND     SONS,   INC.'S   MEMORANDUM        IN   SUPPORT    OF

DECLARATORY RELIEF (ECF No. 1793); (7) on the MEMORANDUM OPINION

(ECF No. 1779) and ORDER (ECF No. 1780) addressing Edward Steves,
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Sam Steves, and John Pierce's motions for judgment as a matter of

law on JELD-WEN's trade secret counterclaims; and (8) to extend

the   terms    of     the   Supply   Agreement     for     one    year    beyond   the

conclusion of any appeal if this case remains on appeal until

September 10, 2021.          On the basis of those Jury Verdicts and for

the reasons set forth in the applicable MEMORANDUM OPINIONS and

herein, judgment is hereby entered as set forth below,

I.    Final Judgment on STEVES Antitrust Claims

      A. Final Judgment on STEVES' Past Antitrust Damages

      It is hereby ORDERED that judgment is entered on STEVES' claim

for   past antitrust damages against               JELD-WEN      in the    amount of

$36,455,619.00        in    accord    with   the    Jury    Verdict,      paragraphs

(3)(a)(1)-(4), with post-judgment interest thereon from December

14, 2018 at the federal judgment interest rate of 2.69% per annum

until paid in full.

      B.      Final    Judgment      of   Divestiture      and    Related    Conduct
              Remedies


      For the reasons set forth in the MEMOEIANDUM OPINION (EOF No.

1784), the Court finds that:

      (A)     Without the equitable remedies of divestiture, and the

related conduct remedies herein provided, it is not possible to

restore the substantially lessened competition in the market for

interior molded doorskins that the jury found was the consequence

of the acquisition of Craftmaster International, Inc. {^^CMI") by
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JELD-WEN (the ''Merger") in October 2012, which violated the Section

7 Clayton Act (15 U.S.C. § 18); and

      (B)   STEVES sustained antitrust injury as found by the jury

as a consequence of the violation of the Clayton Act found by the

jury, and STEVES has no adequate remedy at law for the antitrust

injury found by the jury; and

      (C)   Without the divestiture and the related conduct remedies

herein provided, STEVES will suffer irreparable injury in the form

of the loss of its business; and

      (D)   As a result of the divestiture and the related conduct

remedies herein provided, JELD-WEN will sustain certain hardships

as identified in the Memorandum Opinion (ECF No. 1784); and

      (E)   The hardships that STEVES will suffer if the divestiture

and the related conduct remedies herein provided are not granted

substantially     outweigh     the    hardships        to    JELD-WEN    if     the

divestiture and the related conduct remedies herein provided are

granted, so the balance of hardships tips decidedly in favor of

STEVES; and


      (F)   The   public     interest      is   best    served    by     ordering

divestiture and the related conduct remedies herein provided; and

      THEREFORE, it is ORDERED that:

      (1)   JELD-WEN shall divest itself of:

            (a)   All   tangible     and    intangible       assets    that   were

                  acquired    by   JELD-WEN     when    it    acquired    CMI    on
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                  October    24,    2012, that      are    used    by    JELD-WEN   to

                  operate and/or manage its Towanda, Pennsylvania

                  facility     (the    ''Towanda     Facility'')         (manage     or

                  management shall include sales of doorskins made at

                  the Towanda facility); and

            (b)   All    inventory,         materials,          supplies,     office

                  furniture,       computer systems,        and    other    tangible

                  property used in the operation or management of the

                  Towanda facility; and

            (c)   All licenses, permits, and authorizations issued by

                  any   governmental        organization         relating    to     the

                  operation of the Towanda facility; and

            (d)   All   contracts,     agreements,         leases,      commitments,

                  certifications, and understandings relating to the

                  operation and management of the Towanda facility,

                  including supply agreements as well as all customer

                  lists, accounts, and credit records; and

            (e)   All repair and performance records and all other

                  records relating to the Towanda facility; and

            (f)   All   intangible     assets      used    in   the     operation    or

                  management of the Towanda facility, including, but

                  not   limited       to,    all     patents;         licenses      and

                  sublicenses;       intellectual         property;      copyrights;

                  trademarks;      trade    names;    service      marks;    service
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                  names; technical information; computer software and

                  related     documentation;      computer       hardware     and

                  related    documentation;     know-how;      trade    secrets;

                  other     intellectual     property     rights     reasonably

                  necessary for the operation or management of the

                  Towanda facility in the same general manner that it

                  is operated and managed as of this date; drawings;

                  blueprints;        designs;         design        protocols;

                  specifications for materials; specifications for

                  parts     and   devices;   safety     procedures      for   the

                  handling of materials and substances;                 research

                  data concerning historic and current research and

                  development      efforts     relating    to     the    Towanda

                  facility assets, including, but not limited to,

                  designs of experiments, and results of successful

                  and unsuccessful designs and experiments; quality

                  assurance and control procedures; design tools and

                  simulation capability; and manuals and technical

                  information     that   JELD-WEN     provides     to   its   own

                  employees,      customers,     suppliers,        agents,     or

                  licensees, ; and

             (g) All tangible and intangible assets, as described

                  above, that were or are acquired, developed, or

                  produced for use in the operation and management of
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                  the Towanda facility between October 2012 and the

                  date of the divestiture herein provided; and

      (2)    The Court will appoint a Special Master pursuant to Fed.

R. Civ. P. 53, first, to arrange the divestiture to an acquiring

company that demonstrates the ability to competitively manufacture

and   sell    molded   interior    doorskins    in    the   United    States   and,

second, to assure that, until the divestiture is complete, the

Towanda facility is preserved, operated, and maintained in good

operating condition and in accord with applicable law.                   The fees

of the Special Master will be paid by JELD-WEN.                The parties will

be afforded the opportunity to participate in the preparation of

a detailed order setting out the duties of the Special Master and

the administration of the process of divestiture over which the

Special Master will preside; and

      (3)     JELD-WEN   and   the   entity    that    acquires      Towanda   (the

''Acquiring    Company")    shall    enter     into    a    Transition   Services

Agreement that reflects JELD-WEN's obligation and agreement to

provide, for no more than two years, all reasonably necessary

transition services and support to enable the Acquiring Company to

fully use the divested assets and to compete effectively in the

market for doorskins in the United States as of the date that the

divestiture takes place.          The Special Master shall facilitate the

negotiation of the Transition Services Agreement, which shall,

inter alia, provide reasonable compensation to JELD-WEN and the
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Transition Services Agreement shall not take effect until approved

by the Court; and

      (4)   The Acquiring Company and STEVES shall enter into an

agreement, which will assure STEVES a supply of molded interior

doorskins of the kind and in the volume reflected in the current

Supply Agreement with JELD-WEN for three years after September 10,

2021 at prices and terms to be negotiated between the Acquiring

Company and STEVES; and

      (5)   The Acquiring Company and JELD-WEN shall enter into an

agreement that reflects the Acquiring Company's obligation and

agreement to supply, for at least a period of two years after the

divestiture,    doorskins   to   JELD-WEN   at   prices   and   terms to   be

negotiated between JELD-WEN and the Acquiring Company; and, for

any contract with JELD-WEN for the supply of doorskins to JELD-

WEN during five years after that two-year period, the Acquiring

Company shall fully satisfy the requirements of any independent

door manufacturers with which the Acquiring Company has contracted

to supply doorskins before supplying JELD-WEN with doorskins; and

      (6)   The Special Master shall facilitate negotiation of the

agreements called for in Paragraphs (4) and (5) above, and those

agreements shall not take effect until approved by the Court; and

      (7)   The Acquiring Company shall be afforded a reasonable

opportunity to retain the services of current Towanda employees,

and JELD-WEN shall be prohibited from rehiring any employees who
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elect to be employed by the Acquiring Company for two years after

they are hired by the Acquiring Company; and

      (8)   Other independent door manufacturers shall be afforded

an opportunity to terminate, without penalty, any contract with

JELD-WEN for the purchase of doorskins, and the Acquiring Company

shall be allowed to negotiate new agreements with those companies

for the purchase of doorskins made at the Towanda facility; and

      (9)   Pursuant to the Supreme Court's decision in Brown Shoe

Co. V. United States, 370 U.S. 294 (1962), this Final Judgment

Order is an appealable decision.              See id. at 308 & n.l5 (finding

that a divestiture order in a Clayton Act case was sufficiently

final to trigger appellate review even though the details of the

divestiture had not been determined and that the public interest

favored prompt appellate review of divestiture orders); and

      (10) JELD-WEN has represented that it intends to appeal this

Final Judgment Order, and pending appeal:

            (a)   JELD-WEN shall continue to maintain and operate the

                  Towanda facility during the pendency of the appeal

                  unless otherwise ordered by the Court; and

            (b)   JELD-WEN      shall   not     take   any   steps     during   the

                  pendency of the appeal that would in any way reduce

                  the value of the Towanda facility to a potential

                  Acquiring Company or would make it more difficult

                  or   costly    for    the    Acquiring     Company    to   supply


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                  doorskins   to   STEVES       of   the    type,   and   in   the

                  quantity, that JELD-WEN supplies to STEVES as of

                  the date of the entry of this Order; and

            (c)   The   appointment   of    a    Special     Master   shall     go

                  forward as described herein so that the Special

                  Master can monitor JELD-WEN's compliance with the

                  obligations set out in this Order, pending appeal.

                  The Special Master will also be able to become

                  knowledgeable about the doorskin marketplace and

                  the   parties'   roles in          that   marketplace.       The

                  Special Master will have access to the materials

                  described in this Order, as well as the cooperation

                  of JELD-WEN described in this Order; and

      (11) JELD-WEN may not reacquire any part of the assets to be

divested for five       years after the divestiture without prior
approval of the Court; and

      (12) The Court retains jurisdiction to enable any party to

this Order to apply at any time for further orders and directions
as may be necessary and appropriate to carry out or construe this
Order, to modify any of its provisions, to enforce compliance, to
 punish violations of its provisions, and to assure that the
 provisions of this Final Judgment Order are fully satisfied.
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       C.   Alternative Final Judgment on the Antitrust Damages
            Verdict for Future Lost Profits (ECF No. 1022, f 3)

       In order to assure that JELD-WEN can appeal:         (1) the jury's

 findings that JELD-WEN violated the antitrust laws (ECF No. 1022,

 SISl 1 and 2) and (2) all of the antitrust damages assessed by the

 jury (ECF No. 1022, SISI 3(a) and (b)), and to assure that the appeal

 thereof can be heard in the same appeal as the divestiture judgment

 set out in Part I.B. above, the following judgment is alternatively

 entered to be effective if the Final Judgment Order set out in

 Part I.B. is not implemented for any reason.

       Alternatively    to   the   Final   Judgment   of   Divestiture   and

 Related Conduct Remedies (Part I.A. above), it is hereby ORDERED

 that, if part I.B. of this Final Judgment Order is set aside on

 appeal, judgment is entered on STEVES' antitrust lost profits claim

 against JELD-WEN in the amount of $139,441,743.00 in accord with

 the Jury Verdict, paragraph 3(b), with post-judgment interest

 thereon from December 14, 2018 at the federal judgment interest

 rate of 2.69% until paid in full.

 II.   Alternative Final Judgment on the Breach of Contract Verdict
       (ECF No. 1022, 52 4, 5, 6, and 7)

       In order to assure that JELD-WEN can appeal:         (1) the jury's

 findings that JELD-WEN breached the contract at issue and (2) all

 of the breach of contract damages (ECF No. 1022, 55 4, 5, 6, and

 7); and to assure that the appeal thereof can be heard in the same

 appeal as the divestiture judgment set out in Part I.B. above and


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 the alternative judgment on antitrust damages set out in Part I.E.

 above, the following judgments are alternatively entered to be

 effective only if the Final Judgment Order set out in Part I.C. is

 set aside on appeal.

      (1)   Alternatively, it is hereby ORDERED that, if the Final

 Judgment Order set out in Part I.C. is set aside on appeal,

 judgment is entered on STEVES' breach of contract damages in the

 amount of $9,933,602.00 in favor of STEVES and against JELD-WEN

 (EOF No.   1022,   Sli   4,   5,   6,   and   7) together   with   prejudgment

 interest thereon at the rate of 7% per annum from February 15,

 2018 to December 14, 2018 and with post-judgment interest thereon

 at the rate of 2.69% per annum from December 14, 2018 until paid

 in full.


 III. Final Judgment on JELD-WEN's Trade Secret Verdict (ECF No.
      1609, Section V, f b)

       It is hereby ORDERED that Final Judgment is entered on the

 jury's verdict on JELD-WEN's trade secret counterclaims (ECF No.

 1609) and on the jury's award of damages thereon (ECF No. 1609,

 Section V, ^ 6) in the amount of $1,200,000.00 with prejudgment

 interest at the rate of 5.25% per annum from May 11, 2018 until

 December 14, 2018 and post-judgment interest at the rate of 2.69%

 thereon from December 14, 2018 until paid in full.




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IV.    Final Judgment on JELD-WEN, INC.'S MOTION FOR JUDGMENT AS A
       MATTER OF LAW AGAINST STEVES & SONS, INC. (EOF No. 968)

       For   the   reasons,   and   to    the   extent,   set   forth   in   the

 MEMORANDUM OPINION entered on September 28, 2018 (EOF No. 1773) it

 is hereby ORDERED that JELD-WEN, INC.'S MOTION FOR JUDGMENT AS A

 MATTER OF LAW AGAINST STEVES & SONS, INC. {EOF No. 968) is granted

 and the Jury Verdict (EOF No. 1022) on COUNT TWO, paragraphs 8, 9,

 10, and 11, is set aside and vacated.

V.     Final Judgment on COUNTERCLAIMANT JELD-WEN, INC.'S MOTION FOR
       PERMANENT INJUNCTION AGAINST COUNTERDEFENDANT STEVES & SONS,
       INC. (ECF No. 1631)

       For the reasons set forth in the MEMORANDUM OPINION entered

 on November 30, 2018 (ECF No. 1811) it is hereby ORDERED that

 COUNTERCLAIMANT JELD-WEN, INC.'S MOTION FOR PERMANENT INJUNCTION

 AGAINST COUNTERDEFENDANT STEVES & SONS, INC. (ECF No. 1631) is

 denied.


 VI.   Final Judgment on STEVES' Request for Declaratory Relief (ECF
       Nos. 1 and 1793)

       For the reasons set out in the MEMORANDUM OPINION (ECF No.

 1813), it is declared that:

       (1)   The pricing provisions of Section 6 of the Doorskin

 Product Agreement (the "Supply Agreement") (ECF No. 1793-1) apply

 to provide for price increases when JELD-WEN's Key Input costs

 increase and for price decreases when JELD-WEN's Key Input costs

 decrease; and




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       (2)    JELD-WEN        is   required     to    provide   STEVES   with   annual

notice by November 30 of each year of the year-over-year percentage

change of the Key Input costs in the Supply Agreement, and the

resulting doorskin price increase or decrease to be charged for

the ensuing year.

VII. Final Judgment on COUNTERCLAIM DEFENDANTS STEVES AND SONS,
     INC., AND EDWARD STEVES AND SAM STEVES' RENEWED MOTION FOR
       JUDGMENT     AS    A    MATTER    OF    LAW    AGAINST    JELD-WEN,    INC.   and
       INTERVENOR JOHN G. PIERCE'S RENEWED MOTION FOR JUDGMENT AS A
       MATTER OF LAW AGAINST JELD-WEN, INC. (ECF Nos. 1627 & 1629)

       For    the   reasons,       and    to    the   extent,    set   forth    in   the

 MEMORANDUM OPINION entered on October 4, 2018 (EOF No. 1779) it is

 hereby ORDERED that COUNTERCLAIM DEFENDANTS STEVES AND SONS, INC.,

 AND EDWARD STEVES AND SAM STEVES' RENEWED MOTION FOR JUDGMENT AS

 A   MATTER   OF    LAW   AGAINST        JELD-WEN,     INC.     (ECF   No.   1627)   and

 INTERVENOR JOHN G. PIERCE'S RENEWED MOTION FOR JUDGMENT AS A MATTER

 OF LAW AGAINST JELD-WEN, INC. (ECF No. 1629) is granted in part

 and denied in part. The remaining requests for declaratory relief

 are denied and judgment is hereby entered in favor of Edward

 Steves, Sam Steves, and John G. Pierce and against JELD-WEN on

 JELD-WEN's trade secret first and third counterclaims.

 VIII. The Supply Agreement's Terms Shall Extend One Year Beyond
        the Conclusion of the Appeal if This Case Remains on Appeal
        Until September 10, 2021.

       Considering the time that has passed since entry of the

 verdict on the antitrust claims (caused by the time for conducting,

 briefing, and deciding the remedies issues, by the time taken for


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the trial secrets claims, and by the time taken on the post-trial

motions), if, as of September 10, 2021, this case remains on

appeal, the term and the terms of the Supply Agreement {PTX-149)

shall be extended for one year beyond the conclusion of the appeal

to assure that Steves does not suffer the irreparable injury found

in the MEMORANDUM OPINION (EOF No. 1811); and

      JELD-WEN shall maintain the status quo at the Towanda facility

 during the pendency of this appeal, and Steves has the right under

 Federal Rule of Civil Procedure 64(d) to request an injunction

 pending appeal to lengthen the period of Steves' Supply Agreement

 with JELD-WEN for a greater period than provided in the above

 paragraph.

      It is so ORDERED.


                                                /±i          /Itf
                              Robert E. Payne
                              Senior United States District Judge


 Richmond, Virginia
 Date: March y.3 , 2019




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